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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

DR. GEORGE RICHARDSON, ROSALIE             §
WEISFELD,    AUSTIN      JUSTICE           §
COALITION, COALITION OF TEXANS             §
WITH DISABILITIES, MOVE TEXAS              §
CIVIC FUND, LEAGUE OF WOMEN                §
VOTERS OF TEXAS, and AMERICAN GI           §
FORUM OF TEXAS, INC.,                      §
                                           §
                 Plaintiffs                §
                                           §
v.                                         §   Civil Case No. 5:19-cv-00963
                                           §
TEXAS SECRETARY OF STATE, TRUDY            §
HANCOCK, in her official capacity as       §
BRAZOS       COUNTY     ELECTIONS          §
ADMINISTRATOR, and PERLA LARA in           §
her official capacity as CITY OF           §
MCALLEN, TEXAS SECRETARY,                  §
                                           §
                 Defendants.               §

     PLAINTIFFS’ REPLY IN SUPPORT OF PLAINTIFFS’ COURT-ORDERED
                         SUPPLEMENTAL BRIEF




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       Plaintiffs file the following Reply in support of their court-ordered Supplemental Brief.

    I. AN INJUNCTION OF THE ENTIRE SIGNATURE COMPARISON PROCEDURE
       IS MERITED IF A NARROWER REMEDY IS NOT POSSIBLE

       In Plaintiffs’ Supplemental Brief in response to the Court’s August 21st Order

(Supplemental Brief), Plaintiffs recognized that while remedial measures short of a complete

injunction are available—including the proposals set forth in Plaintiffs’ Supplemental Brief—this

Court should enjoin implementation of the signature comparison procedure in Texas Election Code

Sections 87.041(b)(2), (e) and (f) and 87.027 entirely in the event that this Court determines a

narrower remedy would be impossible, impractical, or overly burdensome.1 In response,

Defendant SOS argues that such an injunction “would impose burdens that far outweigh any

benefit Plaintiffs can show.”2 Defendant SOS’s arguments fail for several reasons.

       A. Texas’s Interest in Preventing Voter Fraud Is Not Served By the Current
          Signature Comparison Procedure

       Defendant SOS first argues that “[d]oing away with signature verification undermines the

State’s interest in the confidence in the integrity of our electoral processes.”3 However, Defendant

SOS again fails to demonstrate that the existing signature comparison procedure furthers her stated

interest in preserving electoral integrity, while ignoring that the use of unconstitutional voting

processes undermines the very integrity Defendant SOS purports to protect.

       As a preliminary matter—and as Plaintiffs have made clear in multiple submissions to this

Court4—Plaintiffs do not dispute that the prevention of voter fraud may be a legitimate government

interest. Instead, Plaintiffs object based on the fact that Defendant SOS has repeatedly failed to




1
  Dkt. 89 at 5.
2
  Dkt. 93 at 2.
3
  Dkt. 93 at 3 (internal quotations omitted).
4
  See, e.g., Dkt. 74 at 45.
                                                 2
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demonstrate that the current signature comparison procedure actually furthers this interest. As

Plaintiffs have previously argued,5 to avoid court-ordered relief on Plaintiffs’ constitutional claims

Defendants must do more than merely raise the specter of voter fraud—rather, they must

demonstrate that any burden at issue is relevant to and actually furthers this interest.

        Beyond citing cases that only generally describe a governmental interest in preventing

voter fraud,6 Defendant SOS points only to two statements made in supporting affidavits to support

her interest in preventing fraud in mail-in-voting. The first statement, made by Hays County

Elections Administrator Jennifer Anderson, states that on several occasions, Ms. Anderson has

spoken with voters whose mail-in ballots have been rejected for alleged signature mismatch, and

that “[e]ach time this has happened, in my experience, the voter has recognized that the signature

on the [application for ballot by mail] or the carrier envelope was not, in fact, their signature.” 7

The second statement, made by Keith Ingram, Director of Elections for Defendant SOS, states that

although “[t]he number of mail ballots rejected because the early voting ballot board determined

the signatures were not made by the same person is relatively small . . . signature comparison is an

important deterrent for mail ballot fraud and ballot harvesting.”8

        These passing statements, which allude only generally to the risk of fraud in mail-in voting,

fall far short of demonstrating any purported “burden” to Defendant SOS and do not comply with

this Court’s order that Defendants provide evidence of “any specific burdens” of a proposed

remedy.9 As explained in detail in footnote 46 of this Reply, Ms. Anderson’s statement does not

make clear whether the voters she spoke with believed, upon review of their application for ballot



5
  See id.
6
  See Dkt. 93 at 3.
7
  See infra n. 45; Dkt. 93 at Exhibit 1, ¶ 2.
8
  Dkt. 93 at Exhibit 2, ¶ 11.
9
  Dkt. 88 at 4 (emphasis in original).
                                                  3
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by mail (ABBM) and carrier envelope, that their ballot had been signed by a different voter, or,

alternatively, whether they merely agreed that they did not use their signatures on one or both of

the documents.10 Mr. Ingram’s affidavit provides even less support, making only the conclusory

statement that the current procedures are “an important deterrent” for fraud.11 Without providing

evidence that the existing signature comparison procedures actually further that interest, Defendant

SOS fails to demonstrate any burden at all, let alone one sufficient to overcome Plaintiffs’

arguments.

        Despite ready access to vote-by-mail data and regular contact with local election officials

across Texas, Defendant SOS points to no specific evidence that the signature comparison

procedure has ever prevented mail-in ballot fraud. Defendant SOS collects a wide array of data

describing the prevalence and use of mail-in ballots in Texas, including the number of mail-in

ballots rejected in Texas for alleged mismatched signatures in a given election.12 Further, Mr.

Ingram—who was also deposed in this action as a fact witness—testified in his deposition that he

and the Secretary of State’s Office are regularly in contact with local election officials regarding

“all kinds of questions” about Texas election law.13

        Defendant SOS has had ample opportunity to support her argument that the current

signature comparison procedure furthers an interest in preventing voter fraud. Having failed to do

so, merely raising the specter of voter fraud is not a reason to deny injunctive relief necessary to

cure Plaintiffs’ constitutional injury.




10
   See infra n. 45.
11
   Dkt. 93 at Exhibit 2, ¶ 11.
12
   Dkt. 65, Exhibit 16, ¶ 2 (Declaration of Chris Rainbolt, describing data collected by the United
States Election Assistance Commission received by Plaintiffs in response to a Public Information
Act Request sent to Defendant SOS on June 25, 2019).
13
   Dkt. 84 at 31–32, Ingram Dep. 26:21–27:24.
                                                 4
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       B. Texas’s Interest in Enforcing “Duly-Enacted Laws” Does Not Protect
          Unconstitutional Laws and Procedures.

       Defendant SOS next argues that an injunction “burdens the State’s interest in the

application of its duly-enacted laws.”14 But neither the State of Texas nor Defendant SOS have

any interest in enforcing unconstitutional procedures that purport to implement a statute, even

when otherwise duly-enacted. Under Defendant SOS’s interpretation of the State’s interest, no law

passed by the Texas Legislature could fail to pass constitutional muster. This is clearly not the law.

       In furtherance of this argument, Defendant SOS argues that “wholly eviscerating Texas’s

signature-verification requirement would deprive the State and the public of implementation of the

legislature’s decisions—even in circumstances where Plaintiffs do not contend those decisions

operate unlawfully.”15 Plaintiffs argue that the Texas Election Code provisions at issue are

constitutionally sound if they include reasonable notice and an opportunity to cure an improper

rejection. Without these safeguards guaranteed under the Constitution, these Texas Election Code

provisions can never operate lawfully.16

       The narrowly tailored detailed proposal by Plaintiffs, as well as other remedy that meets

Plaintiffs’ five minimum safeguards, would operate as a constitutionally-sound implementation of

the signature comparison provisions. As described infra, however, Defendant SOS also takes issue

with Plaintiffs detailed proposal, as they do with any proposal to modify the existing signature

comparison procedure. Defendant SOS cannot be permitted to argue both that a narrower remedy




14
   Dkt. 93 at 4.
15
   Dkt. 93 at 4 (emphasis added).
16
   Plaintiffs have already responded to Defendant SOS's argument and have shown that the law is
facially unconstitutional as well as unconstitutional as-applied. Dkt. 80 at 35–38.
                                                  5
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is overly burdensome and that a wholesale injunction too broad, thereby depriving the Court of

any ability to prevent unconstitutional implementation of a duly-enacted law.17

       C.      An Injunction of the Entire Signature Comparison Procedure is Merited
               Notwithstanding the Secretary of State’s Other Arguments.

       Finally, in contesting the appropriateness of an injunction of the signature comparison

procedure, Defendant SOS argues in turn that an injunction of the signature comparison procedure

would undermine uniform election regulation; that changing the signature comparison procedure

at this time would violate the principle set forth in Purcell v. Gonzalez, 549 U.S. 1 (2006); and that

Plaintiffs have shown no benefit to their proposed injunction. As explained here and in Section II

of this Reply, each of these arguments is unconvincing.

       First, Plaintiffs agree that Texas has an interest in uniform election regulation, as is clear

from Plaintiffs’ Equal Protection claim in this action.18 But a wholesale injunction furthers this

interest rather than hinders it. The record is clear that Texas’s signature comparison procedure in

its current form already fails to provide uniform standards for signature comparison and is

unpredictably and inconsistently applied.19 Further, Defendant SOS provides no evidence to

support her claim that any local Texas election authorities would fail to abide by an order from

this Court enjoining the enforcement of the signature comparison procedure, and an accompanying

advisory from the Secretary of State. Even if this unlikely event were to occur, as described in

more detail below, Defendant SOS has the power “to order [a] person to correct the offending

conduct” and to “seek enforcement of the order by a temporary restraining order or a writ of

injunction or mandamus obtained through the attorney general.” Tex. Elec. Code § 31.005.



17
   For the same reason, Defendant SOS’s argument that “a wholesale injunction sweeps far more
broadly than Plaintiffs’ alleged injury,” see Dkt. 93 at 5, fails.
18
   See Dkt. 1 at ¶¶ 71–74.
19
   Dkt. 65 at 39–41 (explaining the record on Texas’s ad hoc and arbitrary procedures).
                                                  6
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       Second, as discussed in substantially greater detail below, an injunction of the entire

signature comparison procedure for the 2020 General Election does not run afoul of Purcell v.

Gonzalez. In short, if the Court believes a complete injunction is the only remedy available for the

2020 General Election, such a remedy would satisfy Purcell because, as Plaintiffs argued in their

Supplemental Brief, an injunction of the entire signature comparison procedure

       would impose the least burden on elections officials, including local Defendants,
       tasked with implementing the signature comparison procedure because it would
       require them to stop implementing the procedure entirely.20

       Additionally, since signature comparison procedures occur after a voter submits a mail

ballot, voters will not be affected by the lack of implementation. A complete injunction therefore

would not substantially interfere with the State’s election preparations and would cause no voter

confusion whatsoever—meaning it would not run afoul of Purcell. Furthermore, Defendant SOS

ignores that Plaintiffs’ proposed relief asks for an order enjoining the signature comparison

procedure only in the event that a narrower remedy is impossible, impractical, or overly

burdensome to put in place.21

       Third and finally, Defendant SOS claims that “at most, [Plaintiffs] have shown that two

ballots were rejected for failure to satisfy Texas’s signature-verification requirement” and “have

not introduced any competent evidence of similar injuries suffered by voters throughout the State.”

Dkt. 93 at 5. This argument ignores the record evidence. While Plaintiffs have explicitly identified

by name only Dr. Richardson and Ms. Weisfeld as having their ballots incorrectly rejected in past

elections, they have also shown that thousands of Texas voters had their ballots rejected for

signature mismatches in the 2016 and 2018 General Elections22 and submitted undisputed expert



20
   Dkt. 89 at 6.
21
   Dkt. 89 at 5.
22
   See Dkt. 80 Exs. 82–83 (U.S. Election Assistance Commission data).
                                                 7
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testimony as to the extremely high error rate to be expected under Texas’s signature comparison

procedure.23     Defendant SOS also ignores the fact that there is another lawsuit pending in the

Southern District of Texas, with her as a defendant, explicitly naming several additional voters

who also had their ballots incorrectly rejected for perceived signature mismatches. See Flores et

al. v. Hughs et al., 7:18-cv-00113 (S.D. Tex. 2019), Dkt. 58 (Flores Plaintiffs’ Second Amended

Complaint); Dkt. 94 at 2 (Flores Plaintiffs’ Second Amended Motion for Summary Judgment and

exhibits referenced therein).

          Numerous courts have found this sort of evidence sufficient to support relief. See

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1320–21 (11th Cir. 2019) (having “no

trouble finding that Florida’s [vote-by-mail signature-matching] scheme imposes at least a serious

burden on the right to vote” based on evidence that the “inherent nature of signatures” poses a

“risk that . . . ballots will incorrectly be rejected for signature mismatch” and several sworn

declarations from voters whose ballots were erroneously rejected); Saucedo v. Gardner, 335 F.

Supp. 3d 202, 218–20 (D.N.H. 2018) (enjoining signature comparison procedure on basis of three

named plaintiffs and finding that even mild risk of erroneous signature comparison “translate[s] to

the disenfranchisement of dozens, if not hundreds, of otherwise qualified voters, election after

election” and that “[g]iven how close some races are . . . that is a risk with real consequences.”).

          Plaintiffs have therefore submitted clear evidence sufficient to demonstrate the benefit of

their proposed injunction: to address the severe burden of disenfranchisement suffered by Texas

mail-in voters. As the Supreme Court has recognized, “[n]o right is more precious in a free country

than that of having a voice in the election of those who make the laws under which, as good

citizens, we must live.” Wesberry v. Sanders, 376 U.S. 1, 17 (1964). It is therefore a “basic truth



23
     See Dkt 65 at 12–16 & nn. 26–48; see also Dkt. 74 at 31–33.
                                                   8
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that even one disenfranchised voter—let alone several thousand—is too many.” League of Women

Voters of North Carolina v. North Carolina, 769 F.3d 224, 244 (4th Cir. 2014).

       Ultimately, Defendant SOS’s arguments against Plaintiffs’ proposed injunction fail to

demonstrate a burden sufficient to overcome the constitutional injury caused by the current

signature comparison procedure. In the event that the Court determines that a narrowly tailored

remedy is impossible, impractical, or overly burdensome, this Court should enjoin usage of the

signature comparison procedure entirely, including the specific provisions in Texas Election Code

Sections 87.041(b), (e), and (f) and 87.027.

II.    PLAINTIFFS’ PROPOSED NARROW REMEDY STRIKES THE APPROPRIATE
       BALANCE BETWEEN THE EXISTING SIGNATURE-MATCHING PROCESS
       AND A CONSTITUTIONALLY REQUIRED PROCESS.

       In their Supplemental Brief to the Court, Plaintiffs outlined the five minimum safeguards

they believe that any ballot rejection procedure must meet to comply with the Constitution. See

Dkt. 89 at 2–3. These Constitutional minimums were informed by courts around the country that

have implemented specific remedial measures to cure states’ unconstitutional signature matching

procedures. See, e.g., Democratic Executive Comm. of Florida v. Lee, 915 F.3d 1312, 1321 (11th

Cir. 2019); Martin v. Kemp, 341 F. Supp. 3d 1326, 1341–42 (N.D. Ga. 2018). Plaintiffs’ proposed

narrow notice and cure procedure is just one example of a framework that could satisfy these

minimum constitutional requirements, and therefore, the specific terms of the injunction could be

modified to some degree to account for particularities in the Texas Election Code. Plaintiffs would

not object to a different procedure ordered by the Court that complies with these five minimum

safeguards. In their responsive briefing, however, Defendants fail to address most of these five

minimum safeguards directly and, further, do not propose specific alternatives or modifications to

Plaintiffs’ detailed proposal.



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       A. The Proposed Notice and Cure Procedure Imposes No Significant Burden on
          Local or State Election Officials.

       It is important to note at the outset that while the issue of improper ballot rejections is a

significant problem that likely disenfranchises thousands of Texas voters in every major election,

that number is distributed among 254 independent Texas counties, making the burden of providing

a notice and cure opportunity to voters extremely low for any particular Early Voting Clerk (EVC).

See Democratic Exec. Comm. of Fla v. Detzner, 347 F. Supp. 3d 1017, 1032 (N.D. Fla. 2018)

       (“This is therefore a limited order providing limited relief for a limited number of
       affected voters. Across 45 of Florida’s 67 counties, there are just over 4,000
       rejected ballots for mismatched signatures. The county supervisors of elections and
       canvassing boards are surely up to the task.”).24

       Indeed, while Defendant SOS provides an unsworn declaration from the Hays County

Elections Administrator indicating that Hays County has 137,000 registered voters, notably

missing from that declaration is the number of ballots that Hays County has rejected for an alleged

signature mismatch in the past or that it expects it might reject in the future, likely because this

would make obvious how little would actually be required of this particular county to comply with

the proposed remedial measures.25 Furthermore, neither local Defendant identified any particular


24
   U.S. Election Assistance Commission data shows that during the 2016 General Election Texas
counties reported rejecting 1,567 mail-in ballots for perceived signature mismatches as well as 367
mail-in ballots submitted under the Uniformed & Overseas Citizens Absentee Voting Act for
signature issues more broadly, and 1,873 and 440 mail-in ballots for the same reasons respectively
in 2018 General Election. See Dkt. 65 Ex. 49, Rainbolt Dec. ¶ 2; Dkt. 80 Exs. 82–83 (2016 EAC
data columns OU (non-matching signature) and ID (UOVACA-problem with signature), 2018
EAC data columns JC (non-matching signature) and HC (UOVACA-problem with signature). This
data shows that even the largest counties in Texas, like Harris County (row 108), rejected only 126
ballots for signature mismatches in 2016 and 112 in 2018. Most counties rejected only a handful.
Finally, Plaintiffs note that they mistakenly doubled the 2018 EAC numbers in the Rainbolt
declaration at Dkt. 65, Ex. 49. The correct numbers are displayed here and may be confirmed in
the EAC data itself, previously provided to the Court as raw data at Dkt. 80 Ex. 82 (2018 EAC
data, column JC).
25
   See Anderson Dec., Dkt 93-1. Hays County did not provide the number of ballot rejections in
response to EAVS (provided by the SOS to the federal government) in either the 2016 or 2018
General Elections. See Dkt. 80 Exs. 82–83 (2016 EAC data, row 112, column JC).
                                                10
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burden placed on them in their responses to Plaintiffs’ supplemental briefing, instead choosing to

again raise the exact same argument—that neither local Defendant is a proper party—that each

made in their motions to dismiss and their motions for summary judgment.26 As laid out below,

Plaintiffs’ detailed proposal imposes no significant burden on local or State election officials.

       First, the EVC of each county is responsible—both under the Texas Election Code and in

reality, as testified to by local Defendants—for handling virtually every aspect of early voting

within their respective jurisdictions, including managing the Early Voting Ballot Board (EVBB)

by providing EVBB committee members with the EVBB Handbook, a space to convene, and all

the office supplies necessary to carry out their tasks; providing assistance whenever the EVBB

needs help in making a signature determination (for example, by providing more signatures for

review); and mailing out rejection notices for the EVBB.27 They regularly correspond with voters

for a multitude of reasons related to the mail-in ballot process—via e-mail, text messages, phone

calls, and/or physical mail.28 As common sense would dictate and fact witnesses testified, the cost




26
   See generally Dkts. 91, 92.
27
   See Dkt. 74 at 27–28 & nn. 81–84.
28
   Id. Defendant SOS additionally contends that Plaintiffs’ detailed proposal actually would not
prevent the harm caused to voters by the signature comparison procedure that Plaintiffs allege
because some voters still might not get notice in time to cure an improper rejection. Dkt. 93 at 17–
18. This argument is premised on the fact that some voters may choose not to provide an e-mail
address or phone number on their application, and therefore, only the mail option would be
available, and that some voters may not check their mail or might ignore phone calls and e-mails.
Id. Ignoring the wild speculation on voter behavior here, Plaintiffs’ detailed proposal is specially
crafted to maximize the opportunity to voters in these situations within the limited constraints of
an election, engaging methods to provide the fastest possible notice, and allowing a voter to cure
up to the day before canvassing. The record in this case is clear that if these procedures had been
in place, Individual Plaintiffs actually would have received notice and actually would have taken
steps to cure the improper rejection of their ballots. See, e.g., Dkt. 65, Ex 27(Weisfeld ABBM
listing e-mail and phone); Dkt 65 at 18 & nn.64-68; Dkt 65 at 17 & nn.56-61. Additionally, in the
alternative, Plaintiffs believe that the canvass deadline and the deadline to mail notices of rejection
can be extended to provide voters more time to cure, which would directly address Defendant
SOS’s argument.
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of such communication is negligible.29 Reaching out to voters to communicate a notice of rejection

and the opportunity to cure would not therefore work a substantial disturbance in the normal day-

to-day operations of local county EVCs. Additionally, the current Notice of Rejection forms

already advise voters to contact their EVCs to find out what option they have to vote, and the

current version of the ABBM already informs voters that election officials may contact them using

email and phone if they have any questions.30

       Second, Plaintiffs’ proposal that the EVBB meet three times—once on election day or the

day after, once on the sixth or seventh day after election day, and once on the tenth day after

election day—will not “impose additional burdens on local election officials” by requiring

“additional meetings of” the EVBB, as Defendant SOS claims.31 Rather, Defendant SOS’s own

guidance to the EVBB states that the EVBB “generally meets twice during an election” at primarily

the same times Plaintiffs propose they meet the first two times.32 A single third meeting on the

tenth day after the election therefore does not require additional “meetings,” plural, beyond what

Defendant SOS already recommends, nor is so burdensome as to substantially disrupt the State’s

election proceedings. In fact, Defendant Brazos EA testified that the Brazos County EVBB

typically meets three times every election already—the Saturday before Election Day, on Election

Day, and six days after Election Day.33 Accommodating Plaintiffs’ suggested framework would

simply require moving one of those meetings.




29
   Dkt. 65 at 35–36 & nn. 145–48, 43 & nn. 162–163.
30
   See Dkt. 65 Ex. 3 (ABBM), Ex. 5 at SOS_000740 (Notice of Rejection form distributed to
election officials in February 2020).
31
   Dkt. 93 at 14–15.
32
   See Dkt. 65, Ex. 4 at SOS_000438–39 (EVBB should meet on Election Day or after the last day
to vote early by person appearance and then once more at least 6 days after Election Day).
33
   See Dkt. 74–1, Ex. 77 at 91:10–92:5.
                                                12
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          Defendant SOS’s criticism of Plaintiffs’ suggested requirement that all ballots must be

reviewed by the EVBB by 9 a.m. on the seventh day after the election, in order to provide some

form of notice and an opportunity to cure an improperly rejected ballot, is similarly misplaced.

This provision is crafted to give the greatest opportunity to challenge an improperly rejected ballot,

recognizing that military and overseas ballots are still timely received up to 5 p.m. on the sixth day

after Election Day and that the Court may not be inclined to extend the canvassing date beyond

the current 11 or 14 day deadlines imposed by the Texas Election Code.

          Finally, Defendant SOS’s concerns that an EVBB meeting on the sixth or seventh day

would give “mere hours” for the EVBB to conduct the signature comparison process are

exaggerated. The vast majority of ballots could be reviewed well in advance of this day, since all

regular mail-in ballots are due to be received, at the latest, on Election Day or by 5 p.m. the day

after the election, and other Federal Post Card Applicant ballots may be received earlier than the

sixth day. The Hays County Election Administrator’s declaration provided by Defendant SOS even

indicates that at least Hays County already plans to review these overseas ballots on that timeline,

currently planning its canvass on the seventh day after the election.34 Requiring the EVBB to

finish its work in reviewing ballots immediately after the deadline—work that is already

mandatory under the Election Code—is not a significant burden.

          Third, despite Defendant SOS’s claims that the proposal burdens Defendant SOS’s office

because she would have to provide guidance to localities and update forms,35 Defendant SOS

regularly releases updated forms and advisories closer in proximity to elections than Texas

currently is to the 2020 General Election. For example, Defendant SOS updated the Dear Voter




34
     Dkt. 93-1 at ¶ 13.
35
     Dkt. 93 at 14.
                                                 13
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letter only last month, in August 2020, to notify mail-in voters of the signature comparison

procedure.36 Defendant SOS also released Election Advisory No. 2020-20 on July 2, 2020, which

provides guidance on counting mail ballots, only twelve days before the July 14th Primary Runoff

Election.37 And finally, Defendant SOS issued Advisory 2020-07 on February 11, 2020, only a

few days before early voting began for the 2020 Primary Election.38 The advisory recommended

that county election officials “mail notices of rejected ballots to affected voters as soon as possible”

and included a revised Notice of Rejected Ballot that instructs voters to contact their EVC if they

believe their mail-in ballot was rejected in error.39 This advisory and updated Notice of Rejected

Ballot are only a step removed from Plaintiffs’ suggested actions and Notice of Provisional

Rejection.

        Furthermore, as seen with respect to the above February advisory, Defendant SOS

regularly distributes instructions and forms by e-mail list-serv.40 The Brazos County Elections

Administrator and the McAllen City Secretary testified that they receive all of Defendant SOS’s

election advisories by e-mail.41 And local election officials are ready to implement any updates

immediately as they come in, as testified to by both the Brazos County Elections Administrator

and the McAllen City Secretary—even when Defendant SOS issues those updates as late as after

the start of early voting.42



36
   See Dkt. 93-2, Ingram Dec. ¶ 5 (Defendant SOS’s Elections Division issued a revised version
of the Dear Voter letter in August 2020); id. Ex. 2 ¶ 1 (copy of revised Dear Voter letter notifying
mail-in voters of the signature comparison procedure).
37
   Dkt. 93-3, Ex. B.
38
   Dkt. 65, Ex. 5.
39
   Id.
40
   Id.
41
   Dkt. 84 at 484, Hancock Dep. 81:7–18; id. at 1399–1400, McAllen 30(b)(6) Dep. 38:21–39:12.
42
    See, e.g., id. at 484, Hancock Dep. 81:7–11 (“Q: And as the Brazos County elections
administrator, are you obligated to act in accordance with any election advisory from the Secretary
of State? A: Yes.”); id. at 1401–1402, McAllen 30(b)(6) Dep. 40:9–41:5 (discussing how McAllen
                                                  14
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        As this record demonstrates, having Defendant SOS produce a Provisional Notice of

Rejection form (which Plaintiffs would gladly work with Defendant SOS to create) and

distributing it to EVCs via e-mail would not be an onerous burden nor would it substantially disturb

the State’s ongoing processes, preparation, or normal proceedings.43

       Fourth, in her response, Defendant SOS challenges various aspects of Plaintiffs’ detailed

proposal as not sufficiently protecting against voter fraud and undermining confidence in the

electoral process.44 However, it is plainly apparent that the proposed remedial procedures are better

suited to protect against the extremely unusual case45 of voter fraud compared to existing signature



once received an email from Defendant SOS updating certain election forms and “it was after the
fact that we had already had our trainings for judges and alternate judges” but that McAllen
“printed out the forms and [the judges] to disregard what we had, the forms have been revised.
And you know, I do what they say. You know, if they change it, we change it.”); see id at 1427–
28, McAllen 30(b)(6) Dep. 66:17–67:25 (describing one incident in which Defendant SOS updated
“a couple” of forms electronically and that “just like the previous example. . . it was after the fact
that early voting had started,” but that McAllen downloaded the forms and updated them at each
polling place “immediately, that same day”).
43
   Plaintiffs also suggested that the Court, in the alternative, could order relief that offers voters
post-rejection options to provide notice and cure. See Dkt. 89 at 5 n.14.
44
   Dkt. 93 at 10–11.
45
   As initially discussed in Section I above, Defendant SOS additionally claims there is “evidence”
that the current signature matching system prevents fraud. This evidence consists of two statements
in declarations attached to her response. First is a statement from Hays County Election
Administrator Jennifer Anderson that “[o]n several occasions” voters who have received notices
of rejection have come to her office and upon review “recognized that the signature on the ABBM
or the carrier envelope was not, in fact, their signature.” Dkt. 93-1 at ¶ 2. Plaintiffs question
whether this is an artfully worded statement indicating that voters recognized that one of these
documents was not signed by them using their signature, as opposed to being signed by someone
else entirely. This is an important distinction because the Texas Election Code has no requirement
that a voter actually sign these documents the same way, only that they sign them both. See Tex.
Elec. Code § 87.041(b)(2) (permitting a ballot to be rejected if the application or carrier envelope
signature has “been executed by a person other than the voter”). Accordingly, if this is the case—
and Plaintiffs question why any voter would show up to protest rejection of a fraudulent ballot—
then this statement effectively describes how the Hays County Elections Administrator counsels
voters into accepting that they were disenfranchised after their ballots were improperly rejected.
And, this would not be a surprising process considering that Defendant Perla Lara explained an
identical procedure that she has undertaken explaining to voters that their two signatures—even if
they signed them—looked different to the non-expert panel of part-time signature reviewers on the
                                                 15
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matching procedures, while also greatly reducing the risk of improper rejection and

disenfranchisement of eligible voters like the Plaintiffs, thereby increasing confidence in the

electoral process. See Section I, A. (voter fraud is extremely rare and signature comparisons are

an arbitrary and error-prone method of confirming identity). The Court has previously recognized

that the addition of procedures like those proposed by the Plaintiffs actually add to election

integrity, and further deter fraud, noting “the Secretary’s stated concerns regarding voter fraud

appear to be inconsistent with the State’s apparent objections to the due process protections sought

by Plaintiffs.”46

        Defendant SOS nevertheless contends that Plaintiffs’ proposed notice and cure process

would provide no safeguard against fraud. However, as discussed earlier, Plaintiffs’ detailed

proposal incorporates the same initial safeguards as the current mail-in ballot process. Specifically,

Plaintiffs’ detailed proposal would continue to require a voter to register to vote with, if they have

such information, a driver’s license, state ID number, or a partial social security number that the

county will then verify through the TEAMS system operated by Defendant SOS. See Tex. Elec.

Code § 13.002(c)(8). Voters are still required to complete an ABBM and, if it is accepted by the

EVC, the EVC will send the voter balloting materials. After a completed ballot is mailed back to

election officials, then, the same signature verification procedure currently required by the Texas

Election Code is performed by the EVBB or Signature Verification Committee (SVC). On top of




EVBB. See Dkt. 84 at 1422–23, McAllen 30(b)(6) Depo. 61:18-62:13 (“I had one that actually
came by, and so I showed her -- we reviewed the notice, and she requested to look at the way she
had signed. And she saw that, and she’s like, “Ma’am, definitely I signed differently. I'll be more
careful next time.”). The second statement cited, from SOS Director of Elections Keith Ingram
mentions only a potential deterrent effect, not any known instances where the signature matching
provisions have actually prevented fraud. Dkt 93-2 at ¶ 12. Such a deterrent effect exists equally,
if not more, from the proposed remedial measures.
46
   Dkt. 41 at 24.
                                                 16
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these existing procedures, under Plaintiffs’ detailed proposal, if a voter’s ballot is flagged as

potentially being signed by someone other than the voter—despite having already complied with

all provisions in the Texas Election Code—that voter can then be additionally required to certify

that they signed both the application and the carrier envelope as well as verify to election officials

the confidential information that was provided on their initial voter registration application or

provide approved identifying documentation to verify identity. Because election officials are

required to reach out to these voters by a variety of means rather than just sending a rejection notice

after the election, they are also more likely to discover if a ballot was actually fraudulently cast as

opposed to rejected in error.

          Rather than recognizing these additional measures as a benefit to the integrity of the

electoral process, Defendant SOS engages in speculation about how a fraudster might still

succeed.47 This speculation, however, is illustrative of the point that the proposed remedial

measures actually increase ballot security. Her example is as follows: a fraudster intercepts a

voter’s application to vote by mail, fraudulently completes it, and, in doing so, provides their own

contact information (phone or e-mail) rather than the voter’s. Then, if the ballot is flagged for a

signature mismatch, the county would contact the fraudster, who would then be the one asked to

“verify” that the ballot was legitimate.48 However, this ignores the fact that if the fraudster has

intercepted and signed the application, then the application and carrier envelope will already have

the same signature preventing it from being flagged in the first place because the EVBB would

then be comparing two of the fraudster’s signatures. Defendant SOS’s example additionally fails

to address how the fraudster might also be able to obtain and verify the voter’s confidential




47
     Dkt. 93 at 10–11.
48
     Id.
                                                  17
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information (driver’s license, state ID, or SSN) that was provided on their original voter

registration application or obtain and provide a voter’s personal documentation. This additional

measure shows how the remedial procedure would actually catch such a fraudster while the current

process would not. Additionally, in a related hypothetical situation where a fraudster intercepted

only a voter’s ballot, but not the original application (thereby implicating a situation where the

ballot was not actually signed by the voter and should be flagged by the EVBB), election officials

would contact the actual voter for confirmation with the information provided on the application,

and again, would require providing the confidential verifying information noted above. These

procedures would catch such a fraudster with additional confirmation from the voter that a ballot

was fraudulent.

          Next, Defendant SOS contends that Plaintiffs’ detailed proposal provides insufficient

safeguards against fraud because if a voter complies with the process, “the EVC is forced to turn

the ballot over to the EVBB or SVC to be counted, even if they suspect [it] is fraudulent.”49 While

the proposed remedy would automatically provide an additional level of voter verification

compared to the current signature comparison procedure, the EVC would still have a remedy if

these situations were ever to actually happen, pursuant to Texas Election Code Section 87.127(a),

which provides that

          [i]f a county election officer . . . determines a ballot was incorrectly rejected or
          accepted by the early voting ballot board before the time set for convening the
          canvassing authority, the county election officer may petition a district court for
          injunctive or other relief as the court determines appropriate (emphasis added).

Ironically, this is the same procedure that Defendant SOS has previously argued gives voters

sufficient due process when their ballot was improperly rejected.50 Although this provision



49
     Id. at 11.
50
     See Dkt. 75 at 10–11.
                                                  18
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provides no direct recourse to a voter for an improper rejection, it does provide direct recourse to

a county election officer for an allegedly improper acceptance, and thus provides a sufficient check

on fraud in the circumstances described by Defendant SOS, in addition to all of the measures

already described.

        Fifth, Defendant SOS points out that Plaintiffs’ proposed deadline for signature review

does not account for elections where the sixth day after Election Day falls on a Saturday, Sunday,

or legal holiday, which would require an additional day for overseas ballots to arrive.51 However,

Defendant SOS does not identify a situation in which this would ever actually occur, and admits

that Plaintiffs’ proposal would “not [be] an issue for the November 3, 2020 general election.”52

Furthermore, under Texas law, all general elections and the majority of other elections must be

held on a Tuesday or a Saturday, which would mean the deadline for most elections will never fall

on a weekend (nor can Plaintiffs think of any holiday that their proposed deadline would fall on).

See Tex. Elec. Code §§ 41.001–.002. Admittedly, the Texas Election Code excepts an enumerated

list of particular types of non-general elections from this rule. Id. at § 41.001(b). But for those

elections, Plaintiffs suggest a modified remedy, either by shifting the deadline to canvass these

elections, the deadline for the EVBB or SVC to review submitted ballots, and/or the deadline for

election officials to send out the final notice of rejection.

        Sixth, SOS contends that the proposed remedial measures necessarily shorten the time to

conduct a canvass because they require that a canvass cannot be performed until 10 days after the

election if any ballots have been rejected for an alleged signature mismatch and not yet cured. 53

But as Defendant SOS recognizes, this still permits the local election authority to perform the



51
   Dkt. 93 at 11
52
   Id.
53
   Id. at 12.
                                                   19
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canvass within the already set deadlines imposed by the Texas Election Code, and would permit

an earlier canvass if the election authority sent no mail-in ballots to voters, had not rejected any

mail-in ballots, or all rejected mail-in ballots had already been cured by their voters. Instead, what

Defendant SOS fails to recognize is that actual tabulations are not done simultaneously for all

types of votes, and that the materials needed for the local authority to conduct the canvass will be

largely tabulated well in advance of the actual canvass, needing only a final count of whether any

rejections have been reversed. The only basis offered as to why this is a burden at all is that

supposedly county commissioners courts may be inconvenienced if they cannot canvass an

election at a regularly scheduled meeting occurring between days 7–10 after an election.54 Holding

special meetings for election canvassing is already common, however, and is already required for

any election authorities that meet only monthly or bi-weekly, including many county

commissioners courts.55

       As proof of this alleged burden, Defendant SOS points to the declaration from the Hays

County Elections Administrator indicating that this would impact its regular operations to canvass

the 2020 General Election, which falls on November 3rd, at its regular Tuesday meeting on

November 10, 2020.56 Even ignoring the bad math in this declaration indicating that the canvass

could not be done at the regular November 17, 2020 Tuesday meeting (which would still be in

compliance with the Texas Election Code’s 14-day requirement to canvass a general election), this

is at the very least disingenuous, as the Hays County Commissioners Court, like other election

authorities, also regularly calls special meetings to canvass elections—including calling a special




54
   Id.
55
   See, e.g., Brazoria County Meeting Dates, Brazoria County, https://www. brazoriacountytx.
gov/government/commissioners-court-meeting-dates (last visited on Sep. 2, 2020).
56
   Dkt. 93 at 12.
                                                 20
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meeting held to canvas the November 2018 General Election on Wednesday, November 14,

2018.57 Any burden on election authorities from the proposed deadline is illusory.

        Seventh, Defendant SOS argues that the specific mechanisms by which a voter is permitted

to cure an improperly rejected ballot pursuant to Plaintiffs’ detailed proposal is overly burdensome

on local election officials.58 But Defendant SOS misreads the proposed curing process. Plaintiffs

have proposed a curing mechanism by which a voter verifies their identity by providing

confidential, personally-identifying information to election officials: their driver’s license number,

Texas ID number and/or last four digits of their Social Security Number. Contrary to Defendant

SOS’s contentions, this information is readily available to election officials because this is the

same information that is required on a voter registration form, see Texas Election Code Section

13.002(c)(8), and as Defendant SOS acknowledges, is “on file with the EVC.”59 Accordingly, the

local election official need only check that the confidential information provided by the voter

matches the information in their records for that voter. The fact that a voter registration form only

requires one of these numbers is irrelevant—if the voter is asked to provide all of these numbers,

if they exist, the election officials will be able to match one of them to the voter’s registration form.

And to the extent Defendant SOS objects to the secondary forms of identification suggested by

Plaintiffs, they have no issue with their proposal being modified so that a voter is allowed to

provide one of these secondary forms of identification in place of the confidential information on

the registration form only in the rare instances that a voter has not provided one of the confidential




57
   See Hays County Comm. Court Minutes Nov. 4, 2018 https://hayscountytx.com/download/
court_minutes_archive/2018/11%2014%202018%20Special%20Meeting.pdf (last visited on
September 2, 2020).
58
   Dkt. 93 at 12–14.
59
   Dkt. 93 at 13.
                                                   21
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identifying numbers on their voter registration form, rather than as an alternative to that

confidential information.60

       Since the voter has already met the requirements for obtaining a ballot and voting by mail,

any document indicating any support whatsoever that the person confirming that they signed the

ballot is the voter should be sufficient. Nevertheless, Plaintiffs would not object to replacing the

list of identifying documents in the detailed proposal with the list of approved identifying

documents for voting in person as long as mail-in voters are not required to sign a reasonable

impediment form, but are still allowed to use the documents that accompany a reasonable

impediment form to verify identity. Since Defendant SOS has explained that election officials are

already trained to verify such documents, this modification to the detailed plan would address any

questions of ambiguity raised by the Defendant SOS about which forms of documentation would

be acceptable under the proposed plan.

       Eighth, SOS contends that the proposed remedial measures impose “unfair costs” on local

elections officials, specifically as to communications infrastructure and employee time to

implement the constitutionally required notice and cure provisions. As noted above, the actual

number of voters affected by this procedure in a particular county is not likely to overburden

elections offices. In contacting voters, the burden on a particular county is likely negligible in

terms of paid staff time, and would utilize only “communications infrastructure” that the Texas

Election Code already requires to be in place and in use at every elections office—phones, e-mail,

fax, and postal mail.61 As already mentioned above, and as discussed in Plaintiffs’ summary



60
  See Dkt. 89 at 3–4, ¶ 3.
61
   See, e.g., Tex. Elec. Code §§ 84.012 (EVC must mail ABBM free of charge to any voter
requesting one); 86.004 (EVC to mail balloting materials to voters entitled to vote by mail);
86.011(d) (EVC may utilize mail, telephone, or in-person visit in allowing voter to cure carrier
envelope defects); 84.007 (voter may submit ABBM by fax if fax available); 105.001 (office must
                                                22
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judgment briefings, local election officials such as the McAllen City Secretary and the Brazos

County Elections Administrator regularly correspond with voters for a multitude of reasons related

to the mail-in ballot process, via e-mail, text messages, phone calls,62 and/or physical mail, and

they are already responsible for mailing out rejection notices for the EVBB.63 The cost of such

communications is negligible.64

       B. The Purcell Doctrine Does Not Apply to Prevent This Court From Issuing
          Injunctive Relief.

       As briefly outlined in Section I above, the Purcell doctrine sometimes operates to prevent

voter confusion and “chaos” that could result from court orders affecting elections. Based on this

doctrine and the alleged burdens addressed above, Defendant SOS incorrectly argues that it would

be improper for the Court to institute a notice and cure procedure “[b]ecause the mail-in balloting

process is already underway” and because the Supreme Court “caution[ed] against federal court

interference with impending elections” in Purcell. Dkt. 93 at 18–19 (citing 549 U.S. 1, 4 (2006)).

               1.      The Purcell doctrine applies in only very limited circumstances.

       In Purcell, the Supreme Court instructed that courts must weigh “considerations specific

to election cases” in determining whether to issue an injunction, especially because “[c]ourt orders



be capable of receiving absentee ballot by fax if cast by certain members of the armed forces);
101.008 (secretary of state, in coordination with local election officials, shall implement a free
system over phone, e-mail, or internet that allows certain mail-in voters to verify that their ballot
has been received and its status); 101.102 (a person eligible to vote under the federal Military and
Overseas Voter Empowerment Act may request balloting materials from the EVC via e-mail);
87.0431 (notice of rejected ballot under must be transmitted by e-mail if ballot was originally
requested by e-mail under Chapter 101); see also supra at 11 and note 28 (discussing local
Defendants’ testimony that they use multiple methods to communicate with voters).
62
   Defendant SOS additionally claims that Plaintiffs do not provide any information regarding how
memorializing curing over the phone is to be accomplished. Dkt. 93 at 13–14. An election official
can memorialize the phone conversation by noting the relevant information provided by the voter
down and retaining the notation in the EVC’s records.
63
   See Dkt. 74 at 27–28 & nn. 81–84.
64
   Dkt. 65 at 35–36 & nn. 145–48, 43 & nn. 162–163
                                                 23
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affecting elections . . . can themselves result in voter confusion and consequent incentive to stay

away from the polls. As an election draws closer, that risk will increase.” 549 U.S. at 4–5.

        In interpreting the Supreme Court’s decision in Purcell and later cases, the Fifth Circuit

has instructed that the operative question is whether an injunction will “substantially disturb the

election process” as measured by: (1) “the potential for voter confusion” and (2) “interference with

[the State’s] ongoing election preparation.” See Thomas v. Bryant, 919 F.3d 298, 315 (5th Cir.

2019) (citing Purcell, 549 U.S. at 4). The potential for voter confusion “animates this concern,”

Thomas, 919 F.3d at 315, but the court should also consider “the mechanics and complexities of

state election laws” so that “where an impending election is imminent and a State’s election

machinery is already in progress, equitable considerations might justify a court in withholding the

granting of immediately effective relief,” Veasey v. Perry, 769 F.3d 890, 894 (5th Cir. 2014) (citing

Reynolds v. Sims, 377 U.S. 533, 585 (1964)); see also Veasey, 769 F.3d at 897 (Costa, J.,

concurring in the judgment)

        (“I agree with Judge Clement that the only constant principle that can be discerned
        from the Supreme Court’s recent decisions in this area is that its concern about
        confusion resulting from court changes to election laws close in time to the election
        should carry the day in the [Purcell] analysis.”).

        This analysis necessarily implicates the consideration of whether the change imposed by

an injunction “poses a risk of interference with the rights of other [state] citizens.” Id. at 894 (citing

Williams v. Rhodes, 393 U.S. 23, 335 (1968)). These various concerns should be determined on

the basis of a factual record whenever possible. See Purcell, 549 U.S. at 5 (the court of appeals

should give deference to the factual findings of the district court in determining whether to stay an

injunction); Frank v. Walker, 769 F.3d 494, 496 (7th Cir. 2014) (whether State officials will be

able to properly prepare for an election in accordance with court action is a question of fact).




                                                   24
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       For example, in Veasey, the Fifth Circuit stayed an injunction enjoining a Texas voter ID

law entered just nine days before early voting began and 24 days before Election Day. 769 F.3d at

892. The court found that voters would be confused by an injunction given that the voter ID law

had been implemented in at least three prior elections; that Texas would be unable to reprint the

training manuals used by poll workers and so would have to retrain Texas’s 25,000 polling workers

at 8,000 polling places via “word of mouth alone,” which would be “extremely difficult, if not

impossible” to accomplish logistically prior to the start of early voting; and that any such late

retraining would pose a risk to the rights of other Texas citizens because it would likely result in

“markedly inconsistent treatment of voters at different polling places throughout the State.” Id. at

892–94. The Fifth Circuit looked to recent Supreme Court decisions as supporting its decision to

stay the injunction given the proximity to the election. See id. at 894–95; see also North Carolina

v. League of Women Voters of N. Carolina, 574 U.S. 927 (2014) (staying an October 3 injunction

regulating an election for which early voting began October 16); Husted v. Ohio State Conference

of N.A.A.C.P., 573 U.S. 988 (2014) (staying an injunction affirmed on September 24 before an

election for which early voting was to begin September 29).

       As set out below, Defendant SOS has not presented any factual evidence to support any of

the concerns identified by the Supreme Court or the Fifth Circuit that would justify staying the

implementation of a notice and cure procedure until after the 2020 General Election.

               2.      The proposed notice and cure procedure will not cause voter
                       confusion and does not disincentivize voters from voting.

       Nothing in the notice and cure procedure suggested by Plaintiffs may reasonably be argued

to cause even mild voter confusion, let alone the sort of confusion that would substantially disturb

the election process. Nothing about the suggested notice or cure procedure affects any step a voter

would normally take to cast a ballot by mail. The voter must still request and fill out an ABBM,


                                                25
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submit it, receive a ballot, sign and seal the carrier envelope, and submit the ballot. There are no

changes to the qualifications of who may vote or what identification or documentation must be

shown to vote (as in voter ID cases). Any alleged confusion that a voter might experience upon

being contacted to verify that they signed the ABBM and carrier envelope would be minor and

mitigated during the EVC’s communication with the voter whether via mail, e-mail, text message,

and/or phone. It would also be mitigated by Plaintiffs’ suggested update to the Dear Voter letter to

notify voters of the signature comparison procedure—a change that Defendant SOS has already

implemented.65 Similarly, there is no reasonable argument that being provided notice and

opportunity to cure will disincentivize people from voting.

                3.      The proposed notice and cure procedure does not interfere with the
                        State’s ongoing election preparation so as to substantially disturb the
                        election process.

         Plaintiffs’ detailed proposal does not interfere with the State’s ongoing election preparation

so as to substantially disturb the election process, for all the reasons set out above addressing why

nothing in that proposal poses a substantial burden to local or State election officials. See Section

II, A.

         Defendant SOS’s reliance on the Supreme Court’s stay of an injunction in Republican

National Committee v. Democratic National Committee is inapposite.66 In that case, the Supreme

Court stayed an injunction “which the plaintiffs themselves did not see the need to ask for,” issued

only five days before Election Day, that “[e]xtended the date by which ballots may be cast by

voters.” Republic Nat’l Comm., 140 S. Ct. at 1206–07. This “fundamentally alter[ed] the nature of




65
   See Dkt. 93-2, Ingram Dec. ¶ 5 (Defendant SOS’s Elections Division issued a revised version
of the Dear Voter letter in August 2020); id. Ex. 2 ¶ 1 (copy of revised Dear Voter letter notifying
mail-in voters of the signature comparison procedure).
66
   Dkt. 93 at 18 (citing 140 S. Ct. 1205, 1207 (2020))
                                                  26
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the election.” Id. at 1207. But unlike in that case, Plaintiffs here do seek the relief being discussed;

the election is not nearly so close; and nothing in Plaintiffs’ suggested framework requires any

modification to existing deadlines under the Texas Election Code. Mail-in ballots must still be

received by the various deadlines under the Texas Election Code, Plaintiffs do not ask the EVBB

to meet outside of the time already permitted, and canvasses can still be completed within statutory

deadlines.67

          In sum, the sort of concern for Texas’s ongoing election preparations demonstrated in the

cases cited by Defendant SOS are not present here. Plaintiffs’ proposed remedy does not impose

the sort of “extremely difficult, if not impossible” logistical problems identified by the Fifth Circuit

in Veasey—retraining 25,000 poll workers at 8,000 polling places across the State by word of

mouth alone, a mere nine days before early voting. Veasey, 769 F.3d at 893. Instead, Plaintiffs

proposal would require Defendant SOS to distribute the requested guidance to election officials in

Texas via the e-mail list-serv Defendant SOS already maintains, in a timeframe Defendant SOS

has previously engaged in of her own volition, to election officials who already engage in the types

of communications suggested, at little to no additional cost to the State’s overall voting

infrastructure.

                  4.     The proposed notice and cure procedure will not cause any changes
                         that risk interference with the rights of other Texans.

          In Veasey the Fifth Circuit noted that attempting to retrain 25,000 poll workers via word

of mouth in nine days would result in markedly different treatment of voters at different polling

places across the State. Veasey, 796 F.3d at 894–95. This “risk of interference with the rights of

other [Texas] citizens” weighed in favor of waiting until after the election to take action. Id.




67
     See Dkt. 89 at 3–5 & nn. 8, 11.
                                                  27
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(alteration in original) (citation omitted). The Fifth Circuit also pointed to the Supreme Court’s

observation that even though already-distributed ballots unconstitutionally excluded certain

candidates, requiring Ohio to print a new set of ballots at the last minute before the election would

“pose a risk of interference with the rights of other Ohio citizens, for example, absentee voters.”

Id. (citing Williams, 393 U.S. at 35). But nothing of that sort is threatened by Plaintiffs’ proposed

cure and notice procedure. Allowing mail-in voters the opportunity to confirm their signatures

does not pose any sort of risk to other voters’ rights, as in the case of in-person voters being subject

to different interpretations of the voter ID requirements or being presented with different ballots

than absentee voters.

               5.       For these reasons, the Purcell doctrine is inapplicable here.

       For all of the reasons set out above, Plaintiffs’ proposed notice and cure procedure does

not run afoul of the Purcell doctrine. An injunction requiring election officials to notify a voter of

a questioned mail-in ballot and permitting that voter an opportunity to cure their ballot will not

sow voter confusion or create any incentive to stay away from the polls; will not cause any

substantial disturbance in the State’s ongoing election preparation; and will cause no change that

risks interference with other Texans’ rights. Furthermore, this case does not present the sort of

proximity to the election seen in Veasey or the Supreme Court cases on which it relied. For the

same reasons, the Purcell doctrine does not apply to bar the complete enjoining of the signature

comparison statute, as doing so would not substantially interfere with the State’s election

preparations—would in fact impose no burden at all—and would cause no confusion for voters,

who would continue to take the normal steps to vote by mail.




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       C.      The Secretary of State has Authority to Enforce the Court’s Order and
               Maintain Uniformity in the Administration of Elections.

       Finally, Defendant SOS continues to argue that Plaintiffs injuries are not redressable

through the Secretary of State and that it has no authority to enforce the election laws against local

election authorities.68 This argument has been flatly rejected by this Court and the Fifth Circuit,

which have recognized that Defendant SOS is the proper defendant through whom to seek relief

concerning the application of the Texas Election Code. See Dkt. 41 at 13–15; OCA-Greater

Houston v. Texas, 867 F.3d 604, 612–13 (5th Cir. 2017); see also Grizzle v. Kemp, 634 F.3d 1314,

1319 (11th Cir. 2011); League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 475 n.16 (6th

Cir. 2008). Defendant SOS’s position is disingenuous at best, given that the Texas Election Code

specifically gives Defendant SOS the power to “take appropriate action to protect the voting rights

of the citizens of this state from abuse by the authorities administering the state’s electoral

processes . . . [and to] order the person to correct the offending conduct.” Tex. Elec. Code § 31.005.

And this power is not theoretical: within just the past week, on a mail-in ballot related issue in

Harris County, Defendant SOS first threatened to sue—and then did sue—the Harris County Clerk

in order to mandate compliance with her interpretation of the Texas Election Code, by seeking

enforcement through the attorney general. See Texas v. Hollins, No. 2020-52383 (Harris Co. Aug.

31, 2020).69




68
   See Dkt. 93 at 15 & n.25.
69
   See also Alexa Ura, Texas tells Harris County to halt plan to send all voters applications for
mail-in       ballots,       THE      TEXAS        TRIBUNE,         (Aug.        28,       2020),
https://www.texastribune.org/2020/08/28/mail-in-ballots-texas-harris-county/; Letter from Keith
Ingram, Director of Elections for the Texas Secretary of State’s Office to Chris Hollins, Harris
County Clerk, (Aug. 27, 2020), available at https://static.texastribune.org/media/files/
9078f160593df832d2704969c73628c5/SOSLetter_HarrisCountyVBM.pdf.
                                                 29
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                                     III.    CONCLUSION

       For the foregoing reasons, Plaintiffs request that the Court issue an injunction that

implements their detailed proposal, or procedures that satisfy the five minimum safeguards also

outlined by Plaintiffs, or, in the alternative, issue a complete injunction of the signature matching

provisions of the Texas Election Code, leaving the Texas Legislature to take up the issue of

implementing a procedure that complies with the Constitution if it deems necessary.

                                                       Respectfully submitted,
                                                      /s/ Ryan V. Cox

                                                      TEXAS CIVIL RIGHTS PROJECT

                                                      Mimi M.D. Marziani
                                                      Texas Bar No. 24091906
                                                      mimi@texascivilrightsproject.org
                                                      Hani Mirza
                                                      Texas Bar No. 24083512
                                                      hani@texascivilrightsproject.org
                                                      Ryan V. Cox
                                                      Texas Bar No. 24074087
                                                      ryan@texascivilrightsproject.org
                                                      Zachary D. Dolling
                                                      Texas Bar No. 24105809
                                                      zachary@texascivilrightsproject.org

                                                      1405 Montopolis Drive
                                                      Austin, Texas 78741
                                                      512-474-5073 (Telephone)
                                                      512-474-0726 (Facsimile)

                                                      WILLKIE FARR & GALLAGHER LLP

                                                      Richard Mancino (NY Bar No. 1852797)
                                                      Samuel Kalar (NY Bar No. 5360995)
                                                      JoAnna Suriani (NY Bar No. 5706395)

                                                      787 Seventh Avenue
                                                      New York, New York 10019
                                                      Telephone: (212) 728-8000
                                                      Facsimile: (212) 728-8111
                                                      Email: rmancino@willkie.com
                                                             skalar@willkie.com
                                                 30
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                                                           jsuriani@willkie.com

                                                   -AND-

                                                   Jennifer J. Hardy (TX Bar No. 24096068)
                                                   Denis A. Fallon (TX Bar No. 24059731)
                                                   Garrett Johnston (TX Bar No. 24087812)
                                                   Audra White (TX Bar No. 24098608)

                                                   600 Travis Street, Suite 2100
                                                   Houston, Texas 77002
                                                   Telephone: (713) 510-1700
                                                   Facsimile: (713) 510-1799
                                                   Email: jhardy2@willkie.com
                                                          afallon@willkie.com
                                                          gjohnston@willkie.com
                                                          awhite@willkie.com

                                                   COUNSEL FOR PLAINTIFFS


                               CERTIFICATE OF SERVICE
       By my signature below, I certify that a true and correct copy of the foregoing has been
served on all counsel of record on September 2, 2020 through the Electronic Case File System of
the Western District of Texas.
                                                                  /s/ _Ryan V. Cox__________




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